               Case 1:18-cv-00459-SAG Document 411 Filed 10/07/19 Page 1 of 1



                                   United States District Court
                                      District Of Maryland
     Chambers of                                                                   101 West Lombard Street
Ellen Lipton Hollander                                                             Baltimore, Maryland 21201
  District Court Judge                                                                   410-962-0742

                                               October 7, 2019

      MEMORANDUM TO COUNSEL

             Re:      State of Maryland v. Exxon Mobil Corp. et al.
                      Civil Action No. ELH-18-0459

      Dear Counsel:

           The Editorial Staff at West Publishing recently advised me that it has selected the Court’s
      Memorandum Opinion of September 4, 2019 (ECF 401) for publication in the Federal Supplement.

             In the course of reviewing the Memorandum Opinion for purposes of print publication, I
      have made a handful of non-substantive, typographical corrections. The revised version will be
      docketed.

            I reiterate that the substance of the Memorandum Opinion has not been altered. The Order
      (ECF 402), issued on September 4, 2019, is unchanged.


                                              Very truly yours,

                                                   /s/
                                              Ellen Lipton Hollander
                                              United States District Judge
